           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 1 of 28



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12

13
                                 UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                    SAN FRANCISCO DIVISION
16

17
     MOONBUG ENTERTAINMENT                     Case No: 3:21-cv-06536-EMC
18   LIMITED and TREASURE STUDIO, INC.,
                                               DECLARATION OF FRAN KRAUSE IN
19                 Plaintiffs,                 SUPPORT OF PLAINTIFFS’
                                               OPPOSITION TO DEFENDANTS’
20          v.                                 MOTION FOR PARTIAL SUMMARY
                                               JUDGMENT OF NONINFRINGEMENT
21   BABYBUS CO., LTD and BABYBUS
     (FUJIAN) NETWORK TECHNOLOGY               FILED UNDER SEAL
22   CO., LTD,
                                               Date:              February 2, 2023
23                 Defendants.                 Time:              1:30 pm
                                               Courtroom:         5 – 17th Floor
24                                             Judge:             Hon. Edward M. Chen

25

26

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28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT                        CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 2 of 28



 1          I, Fran Krause, hereby declare as follows:

 2          1.      I am Faculty in the Character Animation Program at the California Institute of the

 3   Arts. The law firm Tyz Law Group PC, counsel for Plaintiffs Moonbug Entertainment Ltd. and

 4   Treasure Studio, Inc., has retained me as an expert in this case. I submit this declaration in

 5   support of Plaintiffs’ Opposition to Defendants’ Motion for Partial Summary Judgment for Non-

 6   Infringement. I make this declaration based on my own personal knowledge. If called as a

 7   witness, I could and would testify competently to the matters set forth herein.

 8          2.      To prepare my October 25, 2022 Opening Expert Report in Support of Plaintiffs’

 9   Claims (“Opening Report,” which I understand has been filed in this case at Dkt. No. 164-1 and

10   Dkt. No. 175-5)1, I reviewed and examined all of the Super JoJo videos accused of infringement

11   that are listed in my Opening Report at Appendix 4, Part 2 (“Infringing Works”). See Dkt. 164-1
12   (Opening Report) at PDF pages 246-368. I also reviewed development documents for the
13   Infringing Works. As set forth in my Opening Report, it is my opinion that all of the Infringing
14   Works are substantially similar to the copyrighted CoComelon Works. See Dkt, 164-1 ¶ 92
15   (defining “CoComelon Works”), ¶¶ 190, 194, 234, 236-40, Appendix 4 (setting forth substantial
16   similarity opinions regarding the Infringing Works, PDF pages 241-368). I am informed and
17   understand Defendants’ Motion seeks Summary Judgment on 336 of these Infringing Works.
18          3.      My opinions regarding substantial similarity were developed and are supported by
19   the analysis I performed on each Infringing Work, and which is tabulated in Appendix 4 of my
20   Opening Report. Dkt. 164-1, Appendix 4 (PDF pages 241-368). Appendix 4, Part 1 is a chart

21   that sets out 121 elements of audiovisual expression developed, selected and combined by

22   Moonbug in the CoComelon works. Each element is described with a high-level textual

23   description which I used as shorthand to refer to the element as it is expressed in CoComelon

24   Works. Elements 1-29 relate to CoComelon’s JJ character, elements 1-10 refer to his physical

25

26   1
       I am informed and understand my October 25, 2022 Opening Report is available in the record
     of this case at in multiple locations. I this text I cite to the publicly filed version of the Opening
27   Report at Dkt. No. 164-1 (Dkt. 164, Ex. 1), but additionally direct the Court to the unsealed copy
     that I understand was filed at Dkt. No 175-5 for further review.
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT          -1-                         CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 3 of 28



 1   characteristics, and elements 11-29 to his conceptual characteristics developed in the CoComelon

 2   Works. Elements 30-57 relate to the physical (elements 30-37) and conceptual characteristics

 3   (elements 38-57) of JJ’s family. Elements 58-114 relate to the look and feel (elements 58-102),

 4   cinematography (elements 103-108) and song forms (elements 109-114) of the CoComelon

 5   series, including elements relating to CoComelon plots, themes, mood, setting, pace, and

 6   sequences of events. Attached hereto as Exhibit A is a true and correct copy of a chart I

 7   prepared that reproduces the “Element No.,” “Classification,” and “Description” columns of the

 8   Appendix 4, Part 1 chart of CoComelon expressive elements from my Opening Report (Dkt. No.

 9   164-1, Appendix 4, on pages 242-245 of the PDF file), and additionally adds columns providing

10   exemplary citations to CoComelon Works, or timestamp locations in such works, that exemplify

11   or illustrate these expressive elements described in the chart. Elements 115-121 refer to larger

12   scale copying of larger chunks of CoComelon expression (song subject matter, visual

13   arrangements, titles, plots, sequences, etc.) from specific CoComelon Works.

14          4.      To perform my analysis, I examined each Infringing Work, and recorded in a

15   chart the combination of CoComelon expressive elements copied in that Infringing Work. That

16   chart is provided in Appendix 4, Part 2 of my Opening Report. Dkt. 164-1 at PDF pages 246-

17   368. This analysis indicated that Defendants’ Infringing Works copy one or more of Plaintiffs’

18   CoComelon characters, such as JJ and JJ’s family members, mom, dad, sister YoYo, and brother

19   TomTom, including as they are named, depicted and developed, selected, and arranged in

20   CoComelon Works. As my chart shows, all Infringing Works also copy a multitude of

21   expressive elements of the look and feel and cinematography of CoComelon, including various

22   elements of plot, themes, dialogue, mood, setting, colors, pacing, sequence of events, camera

23   angles, and precise character movements contained in the CoComelon Works that depict and

24   develop the CoComelon characters.

25          5.      For example, I understand that Defendants have moved for summary judgment on

26   their Infringing Video “Rain Rain Go Away,” which I understand is listed in Dkt. 180-3 as

27   Exhibit T-19 (BB_00047326), T-238 (BB_00048576), and T-269 (BB_00050818). My analysis

28   indicates that Super JoJo’s “Rain Rain Go Away” (BB_00047326) uses about 90 of the 121

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT        -2-                        CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 4 of 28



 1   elements of expression similarly to the CoComelon Works, through use of the JoJo and family

 2   characters, whose selection and combination of physical and conceptual characteristics are

 3   copied from CoComelon (about 50 overlapping expressive elements), and through use of a

 4   selection and combination of look and feel, cinematography and song-related elements taken

 5   from CoComelon (about 40 overlapping expressive elements). Dkt. 164-1, Appx. 4 Part 2 at 11

 6   (PDF page 256). Similar analyses are provided for BB_00048576 and BB_00050818, which are

 7   close to the same videos except for the addition of intro and outro material to some of them. Id.

 8   at 90, 111 (PDF pages 335, 356).

 9          6.      Appendix 4, Part 2 of my Opening Report applies this methodology to each of the

10   Infringing Works, assessing and tabulating the elements of CoComelon expression copied by

11   each of those Infringing Works. As that analysis shows, every Infringing Work copies a

12   multitude of CoComelon expressive elements and is substantially similar to one or more of the

13   CoComelon Works. See Dkt, 164-1 Appendix 4; see also id. ¶¶ 190, 194, 234, 236-40.

14          7.      JJ. As I described in my October 25, 2022 Opening Report (Dkt. No. 164-1 or

15   Dkt. No. 175-5), I have reviewed the “Super JoJo Specifications” document identified to me as

16   Deposition Exhibit 20 (BB_00046093-122 (certified translation).2 Defendants’ copying began

17   with this plan for producing Super JoJo, which was drafted before a single Super JoJo video was
18                                                                    made. See Dkt. No. 165, ¶¶14-
19                                                                    15, Ex. 524; Dkt. 164-1 ¶¶ 100-
20                                                                    102. In these Super JoJo

21                                                                    Specifications, as shown at left,

22                                                                    Defendants instructed their

23                                                                    team to focus the visuals for

24                                                                    their new series on the JJ

25                                                                    character from CoComelon,

26

27   2
      I am informed this document was submitted as Dkt. No. 165, Exhibit 524 (filed under seal at
     Dkt. No. 172-10). I will refer to it here as Dkt. 165, Ex. 524.
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT        -3-                        CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 5 of 28



 1   listing the attributes that make CoComelon a huge success. Dkt. 165, ¶¶14-25, Ex. 524.

 2   Defendants proceeded to execute this plan, watching, studying, downloading, and copying the

 3   CoComelon Works to create the Super JoJo franchise.

 4          8.      As previewed in these Super JoJo Specifications and described in my Opening

 5   Report, Defendants’ Infringing Works do focus on the experiences of a small child, JoJo, and try

 6   “to inspire children” and “resonate with them” by making the main character JoJo a replica based

 7   on CoComelon’s popular JJ character. Indeed, rather than use an original design for JoJo,

 8   Defendants purchased a 3D model and re-sculpted it to replicate JJ’s physical traits. See Dkt.

 9   165 ¶ 55, Ex. 556 (Chen) 61:17-19; Dkt. 164-1 ¶ 103. As detailed in Appendix 10 to my

10   Opening Report (and as reproduced here and attached as Exhibit E), I examined the model and

11   rigging of Defendants’ JoJo character and observed that Defendants started with a commercially

12   purchased rig (BB_00058492) and then modified its features to make the JoJo character. Dkt.

13   164-1 ¶ 103. I am informed and understand that the metadata of the purchased rig file

14   (BB_00058492) indicates that it was created May 11, 2018, which is more than a year after JJ

15   was created and published on YouTube. When I compared the commercially purchased model

16   to an April 2019 JoJo rig,3 it appeared to me that significant portions of the rig were either

17   replaced or entirely modified to make the JoJo model. For example, my examination indicates
18   that the control rigging of the commercial rig was removed, its face, head, eyebrows and hair
19   were either removed or entirely modified, and the body itself was changed around the shoulders,
20   elbows, knees and navel to make the JoJo rig resemble JJ more closely. Only the hands and feet

21   and parts of the body usually hidden by clothes were relatively unchanged. The colors and

22   textures of the model were changed as well. As such, the JoJo model is not recognizable as

23   having come from the purchased rig and its resemblance to the JJ model4 is quite strong. For

24   example, as shown in the figure below and described in more detail in Exhibit E, JoJo’s head

25   shape was altered to be squatter and rounder, with slight indentations above the ears – more like

26
     3
       BabyBus Production Vol. HD, “D:\TV_Diyou\Dyou\6.Model\A_BabyBus6_series\A_Main
27   character\Baby\Baby_Rig_Fin_1.mb”
     4
       MB035852, “\Plaintiffs Moonbug Treasure Studios Production Vol.
28   2\XDRIVE\Content\Assets\Character\NewBaby\WIP\Rig\Baby_rig_004.ma”


     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT         -4-                         CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 6 of 28



 1   JJ’s. The eyes were slightly flattened and depressions added above and below the eyes – more

 2   like JJ’s. A sharper transition below the nose was added – more like JJ’s. I understand that

 3   Super JoJo’s lead developer and Defendants’ 30(b)(6) witness on the conception, creation, and

 4   development of the JoJo character have testified that they were aware of JJ when they made the

 5   JoJo model and rig. Dkt. No. 165 (Apple Decl.) ¶ 51, Ex. 552 (X. Lin) 16:25-17:21; id. ¶ 54, Ex.

 6   555 (Sun) 10:3–13; 39:8–13. And as described in my Opening Report and its Appendix 10

 7   (attached here as Exhibit E), when Defendants undertook a redesign of the Super JoJo character,

 8   they not only rejected any designs that would make JoJo more different from JJ, the slight

 9   alterations made to the JoJo rig5 actually made him more similar to JJ. See Dkt. 164-1 ¶¶ 130,

10   175, 236. I understand Defendants have testified they rejected these alternative designs for JoJo

11   for fear the audience would not accept them. Id., ¶ 56, Ex 557 (Zhang) 66:13-67:1, 67:15-68:4.

12                           Purchased Model                Infringing JoJo Version 1

13

14

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18
                              CoComelon JJ                  Infringing JoJo Version 2
19

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26
     5
      BabyBus Production Vol. HD,
27   “F:\TV_Diyou\Diyou_new\6.Model\A_BabyBus6_series\A_Main
     character\baby\Baby_Mo_Fin1.mb”
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT        -5-                         CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 7 of 28



 1   See Exhibit E at 1 for citation details for these images.

 2          9.      The textures and color added to the JoJo model and rig add to its substantial

 3   similarity to JJ, to the point that both characters appear nearly identical, as the comparisons

 4   reproduced below from my Opening Report (Dkt. 164-1 ¶ 206) show:

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13   Dkt. 165, Ex. 015 - MB037904 (Yes Yes Vegetables, source of JJ images); Dkt 165, Ex. 150 -
     BB_00012974 (Yes Yes Vegetables, source of JoJo images).
14
            10.     As previewed by the “Super JoJo Specifications,” Defendants’ Infringing Works
15
     also use the visual arrangements and details of their main character JoJo to draw audience
16
     attention, including using the “expression, gesture and mood of the main character.” Dkt. No.
17
     165, ¶15, Ex. 524. Examples abound, including Defendants’ copying of JJ’s poses and
18
     expressions for JoJo (see for example the figure above) – and also including appropriating JJ’s
19
     signature move of raising both arms with a circular or hands waving motion to express
20
     excitement or joy. Attached hereto as Exhibit F is a true and correct copy of a gif file that I
21
     prepared showing examples of JJ’s use of this signature move in a number of the registered
22
     CoComelon Works,6 shown next to JoJo’s use of the same move in a number of Infringing
23
     Works on which I understand Defendants now seek summary judgment. Again, the substantial
24
     similarities of the characters, and their expression, gesture and mood are apparent in these
25

26   6
      CoComelon Works represented in the gif include: No No Playground Song (MB037926, Dkt.
     165 (Apple Decl.) Ex. 48), Yes Yes Playground Song (MB037886, Dkt. 165 Ex. 3), Yes Yes
27   Vegetables (MB037904, Dkt. 165 Ex. 15), Yes Yes Bedtime Song (MB037916, Dkt. 165 Ex.
     57)).
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT         -6-                         CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 8 of 28



 1   animations. In the chart below, I list the Infringing Works represented in the gif, and provide a

 2   citation to my analysis that tabulates how these Infringing Works are substantially similar to

 3   CoComelon Works:

 4          Infringing Work                    Citation for Video        Substantial Similarity
                                                                         Analysis
 5          Peek a Boo Song                    Dkt. 165, Ex. 179         Dkt. 164-1 Appx. 4 at 11
 6          (BB_00047324)                      Dkt. 180-3, Ex. T-17      (PDF page 256)
            One Potato, Two Potatoes           Dkt. 165, Ex. 156         Dkt. 164-1 Appx. 4 at 3
 7          (BB_00013110)                      Dkt. 180-3, Ex. T-8       (PDF page 248)
            Pat a Cake (BB_00047430,           Dkt. 165, Ex. 275         Dkt. 164-1 Appx. 4 at 43
 8          BB_00013106)7                      Dkt. 180-3, Ex. T-101     (PDF page 288)
 9            11.     For another example, the JJ images in Defendants’ Super JoJo Specifications
10   came from the CoComelon Work “This is The Way” (MB037914, Dkt. No 165, Ex. 42) which
11   shows JJ and his siblings getting ready in the morning through a series of scenes – including
12   waking up, getting dressed, and brushing their hair and teeth. As described in further detail
13   below, a number of early Super JoJo videos (for which Defendants seek summary judgment)
14   copied plot points, scenes, and multiple visual images from this video. One example is shown
15   below, where the Super JoJo video reproduces the JJ character as shown in the specifications and
16   in the CoComelon Work, including his facial expression, pose, gestures of his arms and mood:
17       Image from Super JoJo Specifications, Dkt. 165,      Image from CoComelon “This is the Way,”
             Ex. 524 (Dkt. 172-10) at BB_00046109.                       MB037914 at 2:12
18

19

20

21

22
                    Image from Super JoJo “This is the Way We Get Dressed,” BB_00047333 at 2:23
23

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     7
         I have reviewed BB_00013106 and BB_00047430 and do not see differences between them.
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT             -7-                       CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 9 of 28



 1          12.     As mentioned above, the first 29 elements of CoComelon expression used in my

 2   substantial similarity analysis relate to physical and conceptual characteristics of CoComelon’s

 3   JJ. Exhibit A to this declaration provides citations to CoComelon Works, or timestamp

 4   locations in such works, of examples that illustrate these expressive elements relating to JJ.

 5   Appendix 4 to my Opening Report (Dkt. 164-1, Dkt. 175-5) tabulates the presence of these

 6   elements in all the Infringing Works.

 7          13.     All of these facts, together with others described in my Opening Report, inform

 8   and support my opinion that JoJo is substantially similar to JJ, and that all the Infringing Works

 9   are substantially similar to the CoComelon Works on that basis alone. The Infringing Works

10   use JoJo as the focus of the visuals, animation, and as the fictional character that drives the story

11   forward. Because JoJo is a copy of JJ, created specifically to mimic his key attributes and

12   capitalize on his star power, all Infringing Works infringe CoComelon by incorporating the JoJo

13   character.

14          14.     This is the Way. For further examples, I understand that Defendants have moved

15   for summary judgment on their Infringing Videos “This is the Way” and “This Is the Way We

16   Brush Our Teeth,” which I understand are listed in Dkt. 180-3 as Defendants’ Exhibits T-1

17   (BB_00012949) and T-16 (BB_00047321), respectively. I have reviewed the videos produced at

18   BB_00012949 and BB_00047321 (Dkt. No. 165, Exs. 160 - BB_00012949 and Ex. 177 -

19   BB_00047321), and I can detect no differences between them apart from intro/outro material.

20   My analysis indicates that these videos use more than 90 of the 121 elements of expression

21   similarly to the CoComelon Works, through use of the JoJo and family characters, whose

22   selection and combination of physical and conceptual characteristics are copied from

23   CoComelon (about 44 overlapping expressive elements), and through use of a selection and

24   combination of look and feel, cinematography and song-related elements taken from CoComelon

25   (about 49 overlapping expressive elements). Dkt. 164-1, Appx. 4 Part 2 at 4, 10 (PDF pages

26   249, 255).

27

28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT         -8-                         CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 10 of 28



 1          15.     Again, I have reviewed the Super JoJo Specification document, which contains

 2   screenshots from CoComelon’s video “This is The Way.” Dkt. No. 165 ¶¶ 14-19. I reproduce a

 3   page from the Super JoJo Specification below:

 4

 5

 6

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11

12   Dkt. No 165, Ex. 524 (BB_00046093) (certified translation) at 19. I have confirmed that the
13   image at left comes from CoComelon’s registered This is The Way video (Dkt. No 165, Ex. 042
14   - MB037914) at timestamp 0:48, the image in the middle from timestamp 1:15, and the image at
15   right from timestamp 1:33. See also Dkt. No. 165 ¶¶ 14-19. In my review of Defendants’ This
16   Is the Way We Brush Our Teeth (Dkt. 165 Ex. 177 - BB_00047321), I have found animation that

17   reproduces both the subject matter (sibling helping the baby wash his face at the sink) and visual

18   composition of the very image that Defendants copied into the Super JoJo Specifications

19   document:
      Image from Super JoJo Specifications, Apple Decl.     Image from BabyBus’s “This is the Way”
20         Ex. 524 (Dkt. 172-10) at BB_00046110                      BB_00047321 at 0:58.
21

22

23

24

25
     Images with substantially similar subject matter and composition to the other two images from
26
     CoComelon’s This is The Way that were copied into the Super JoJo Specifications were also
27
     reproduced in Super JoJo materials as follows:
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT          -9-                      CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 11 of 28



 1       Image from Super JoJo Specifications, Apple Decl.   Image from BabyBus’s “This is the Way 2”
              Ex. 524 (Dkt. 172-10) at BB_00046110                    BB_00047509 at 1:36.
 2

 3

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 7       Image from Super JoJo Specifications, Apple Decl.       Thumbnail Image from BabyBus’s
              Ex. 524 (Dkt. 172-10) at BB_00046110                 “Clean Up Song” MB279603.
 8

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14   I understand that Defendants have moved for summary judgment on their “This is the Way 2”
15   video. See Dkt. 165, Ex. 346 – BB_00047509 (This is the Way 2); see also Dkt. 180-3, Ex. T-
16   170 (This is the Way 2).
17             16.     Further, I have reviewed a certified translation of Defendants’ planning document

18   for a video entitled “I’m Happy to Be Clean,” produced at BB_00047841.8 This document

19   contains copies of three images from the CoComelon video “This is the Way.” Attached hereto

20   as Exhibit B is a true and correct copy of a document that shows (1) the CoComelon images

21   copied into Defendants’ planning document BB_00047841, (2) the same images as they exist in

22   CoComelon’s registered videos for “This is the Way” (Dkt. No 165, Ex. 042 – MB037914) and

23   “No No Bedtime” (Dkt. No. 165, Ex. 018 – MB037906), and (3) substantially similar images in

24   Defendants’ This is the Way We Brush Our Teeth (Dkt. 165, Ex. 177 – BB_00047321; see also

25   Dkt. 180-3, Ex. T-16). The planning document also outlines the animation of this video as

26

27   8
      I am informed that BB_00047841 and its certified translation will be made available as Exhibit
     D to the Declaration of Deborah Hedley filed commensurately.
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT            - 10 -                   CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 12 of 28



 1   “Baby tries to brush his teeth, wash his face and comb his hair. Though he is awkward, his older

 2   brother and sister encourage him and practice washing happily together.” Hedley Decl. Ex. D at

 3   BB_00047841 (certified translation). It also states that the “animation focuses” should be

 4   exaggerating the awkwardness of the baby’s actions “to present interesting scenes,” and “Please

 5   vividly show the older brother and older sister’s love and patience for Baby through their

 6   expression and action.” Id.

 7          17.     Further, attached here as Exhibit C is a true and correct copy of a video I

 8   constructed providing a comparison of a number of shots and sequences from CoComelon “This

 9   is the Way” (Dkt. No 165, Ex. 042 – MB037914) and Super JoJo “This is the Way We Brush

10   Our Teeth” (Dkt. 165, Ex. 177 – BB_00047321). The comparison shows numerous plot points

11   and visual sequences copied from the CoComelon video into the Super JoJo video in a way that

12   makes them substantially similar, even if the Super JoJo video has changed the order of some of

13   the sequences. Copied sequences include (1) the baby’s brother washing his face, (2) the baby’s

14   brother demonstrating to the baby how to do so, (3) the baby picking up water with delight and

15   washing his own face using circular motion on his cheeks, (4) the two siblings coming to the

16   baby’s sides to congratulate him on the face washing, (5) the baby trying to figure out tooth

17   brushing on his own, overloading a toothbrush with toothpaste and filling his mouth with foam,

18   (6) a sibling gently correcting the baby and demonstrating and pointing at the proper amount of

19   toothpaste to apply, (7) and a sibling then demonstrating how to brush. Most of these copied plot

20   points / sequences are particularly described in the Super JoJo planning document

21   BB_00047841, described above. See Hedley Dec. Ex. D (certified translation) at BB_00047843-

22   46. I also note that these images show the extreme amount of correspondence between the

23   CoComelon and Super JoJo bathroom designs, including the layout of the sink counter area with

24   multiple sinks and the multicolor blue tile walls with other colorful accents. In my opinion,

25   Super JoJo’s “This is the Way We Brush Our Teeth” (BB_00047321) video is substantially

26   similar to multiple CoComelon Works.

27          18.     Further, I understand Defendants are also moving for summary judgment on their

28   Super JoJo video “This is the Way 2,” which I understand is listed in Dkt. 180-3 as Defendants’

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT       - 11 -                      CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 13 of 28



 1   Exhibit T-170 (BB_00047509) and T-324 (BB_00050964, called just “This is the Way”). I have

 2   reviewed the videos produced at BB_00047509 and BB_00050964, and see that they both

 3   mainly contain the same video, although BB_00047509 contains about 30 seconds of additional

 4   material. Dkt. No. 165, Ex. 346 – BB_00047509 and Ex. 503 – BB_00050964. My analysis

 5   indicates that these videos both use a combination of scores of expressive elements from

 6   CoComelon, as described in Appendix 4 of my Opening Report. Dkt. 164-1, Appx. 4 Part 2 at

 7   66, 119 (PDF pages 311, 364). In addition, attached hereto as Exhibit D is a true and correct

 8   copy of a video that shows a number of examples of substantially similar images in the Super

 9   JoJo video (Ex. 503 – BB_00050964) that are copied from CoComelon’s copyrighted “This is

10   the Way” (Dkt. No 165, Ex. 042 – MB037914).

11          19.    Swimming Song. I understand that Defendants have moved for summary

12   judgment on their Infringing Video “Swimming Song,” which I understand is listed in Dkt. 180-

13   3 as Defendants’ Exhibit T-4 (BB_00012966). My analysis indicates that this video uses more

14   than 100 of the 121 elements of expression similarly to the CoComelon Works, through use of

15   the JoJo and family characters, whose selection and combination of physical and conceptual

16   characteristics are copied from CoComelon (about 52 overlapping expressive elements), and

17   through use of a selection and combination of look and feel, cinematography and song-related

18   elements taken from CoComelon (about 52 overlapping expressive elements). Dkt. 164-1, Appx.

19   4 Part 2 at 4 (PDF page 249).

20          20.    In my opinion, the substantial similarity between Super JoJo’s “Swimming Song”

21   (Dkt. 165, Ex. 159 – BB_00012966) and CoComelon’s “Swimming Song” (Dkt. 165, Ex. 033 –

22   MB037898) is not an accident. I have reviewed a copy of a document Bates-numbered

23   BB_00001008 and its certified translation, which states it is a planning document for a Super

24   JoJo video “Baby Learns to Swim.” 9 This document contains copies of three images from the

25   CoComelon video “Swimming Song.” Hedley Dec., Ex. E. Attached hereto as Exhibit G is a

26

27   9
       I am informed BB_00001008 and its certified translation will be made available as Exhibit E to
     the commensurately filed declaration of Deborah Hedley.
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT       - 12 -                     CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 14 of 28



 1   true and correct copy of a document that shows (1) the CoComelon images copied into

 2   Defendants’ planning document BB_00001008, (2) the same images as they exist in

 3   CoComelon’s registered video for “Swimming Song” (Dkt. 165, Ex. 033 – MB037898), and (3)

 4   substantially similar images in Defendants’ Swimming Song (Dkt. 165, Ex. 159 –

 5   BB_00012966). The exhibit also details numerous additional plot points, sequences and visual

 6   images copied from CoComelon’s Swimming Song into Super JoJo’s version, including the

 7   following:

 8        Original Images in CoComelon              Substantially Similar Material in Super
          “Swimming Song” (MB037898)                JoJo “Swimming Song” (BB_00012966)
 9

10

11

12

13

14    Image from CoComelon “Swimming               Image from BB_00012966 at 0:16, JoJo
      Song” (MB037898) at 0:29, JJ nervously       nervously looks into the pool, shown with
15    looks into the pool, shown with an upward    an upward camera angle and distorted by
16    camera angle and distorted by the water.     the water.

17

18

19

20

21
      Image from MB037898 at 0:32, JJ’s            Image from BB_00012966 at 0:21, JoJo’s
22    family, already in the pool, beckon him to   family, already in the pool, beckon him to
      join them.                                   join them.
23

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     MOTION FOR PARTIAL SUMMARY JUDGMENT       - 13 -                     CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 15 of 28



 1        Original Images in CoComelon                   Substantially Similar Material in Super
          “Swimming Song” (MB037898)                     JoJo “Swimming Song” (BB_00012966)
 2

 3

 4

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 6

 7    Image from MB037898 at 0:36, JJ                   Image from BB_00012966 at 0:24, JoJo
      cautiously dips his right foot in the pool.       cautiously dips his right foot in the pool.
 8

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12

13    Image from MB037898 at 0:44 – JJ’s                Image from BB_00012966 at 0:29 – JoJo’s
      mom places him in the pool.                       mom places him in the pool.
14

15

16

17

18

19    Image from MB037898 at 1:02 – JJ, held            Image from BB_00012966 at 1:38 – JoJo,
      by his father, a sibling is in the pool on        held by his father, a sibling is in the pool
20    their back.                                       on their back.
21

22

23

24

25
      Image from MB037898 at 1:46 – JJ’s                Image from BB_00012966 at 2:06 – JoJo’s
26
      brother and sister race each other in the         brother and sister race each other in the
27    pool.                                             pool.

28

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     MOTION FOR PARTIAL SUMMARY JUDGMENT            - 14 -                      CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 16 of 28



 1        Original Images in CoComelon                Substantially Similar Material in Super
          “Swimming Song” (MB037898)                  JoJo “Swimming Song” (BB_00012966)
 2

 3

 4

 5

 6

 7    Image from MB037898 at 1:50 – JJ sees          Image from BB_00012966 at 2:07 – JoJo
      his brother and sister swim and wants to       sees his brother and sister swim and wants
 8    do the same.                                   to do the same.
 9

10

11

12

13
      Image from MB037898 at 2:11 – JJ’s             Image from BB_00012966 at 1:20 – JoJo’s
14
      brother holds onto the edge of the pool        brother holds onto the edge of the pool and
15    and demonstrates kicking.                      demonstrates kicking.

16

17

18

19

20
      Image from CoComelon “Swimming                 Images from BB_00012966 at 1:36.
21    Song” (MB037898) at 2:12.

22

23

24

25

26
      Image from MB037898 at 2:15 – JJ’s             Images from BB_00012966 at 1:36 –
27    father laughs and holds him while he           JoJo’s father laughs and holds him while
      practices holding the edge of the pool and     he practices holding the edge of the pool
28

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     MOTION FOR PARTIAL SUMMARY JUDGMENT         - 15 -                     CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 17 of 28



 1         Original Images in CoComelon                Substantially Similar Material in Super
          “Swimming Song” (MB037898)                   JoJo “Swimming Song” (BB_00012966)
 2    kicking, getting a “thumbs up” from his         and kicking, getting a “thumbs up” from
 3    brother.                                        his brother.

 4

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 8    Image from MB037898 at 2:18 – JJ’s              Images from BB_00012966 at 1:50 –
 9    father holds him while he practices using       JoJo’s father holds him while he practices
      his arms to swim.                               using his arms to swim.
10

11

12

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14
      Image from CoComelon “Swimming                  Images from BB_00012966 at 2:10.
15    Song” (MB037898) at 2:25.
16

17

18

19

20
      Image from MB037898 at 2:33 – the               Images from BB_00012966 at 2:26 – the
21    entire family floats on their backs.            entire family floats on their backs.
22
            21.    Doctor Check Up Song. I understand that Defendants have moved for summary
23
     judgment on their Infringing Video “Doctor Checkup Song,” which I understand is listed in Dkt.
24
     180-3 as Defendants’ Exhibit T-3 (BB_00012963). My analysis indicates that this video uses
25
     about 90 of the 121 elements of expression similarly to the CoComelon Works, through use of
26
     the JoJo and family characters, whose selection and combination of physical and conceptual
27
     characteristics are copied from CoComelon (about 42 overlapping expressive elements), and
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT          - 16 -                     CASE NO. 3:21-cv-06536-EMC
             Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 18 of 28



 1   through use of a selection and combination of look and feel, cinematography and song-related

 2   elements taken from CoComelon (about 48 overlapping expressive elements). Dkt. 164-1, Appx.

 3   4 Part 2 at 2 (PDF page 247).

 4             22.   In my opinion, the substantial similarity between Super JoJo’s “Doctor Checkup

 5   Song” and CoComelon’s “Doctor Checkup Song” (Dkt. 165, Ex. 060 – MB037930) is not an

 6   accident. I have reviewed a copy of documents Bates-numbered BB_00000755 and

 7   BB_00001023, and their certified translations, which state they are planning documents for a

 8   Super JoJo video “Health Check is Super Fun.” 10 Each of these documents contains copies of

 9   four images from the CoComelon video “Doctor Checkup Song.” Hedley Dec. Exs. F, G.

10   Attached hereto as Exhibit J is a true and correct copy of a document that shows (1) the

11   CoComelon images copied into Defendants’ planning documents BB_00000755 or

12   BB_00001023, (2) the same images as they exist in CoComelon’s registered video for “Doctor

13   Checkup Song” (Dkt. 165, Ex. 060 – MB037930), and (3) substantially similar images in

14   Defendants’ “Doctor Checkup Song,” (Dkt. 165, Ex. 152 – BB_00012963). A few examples

15   follow:

16          Original Images in CoComelon Work “Doctor      Substantially Similar Images in Super JoJo
                     Checkup Song” (MB037930)               “Doctor Checkup Song” (BB_00012963)
17

18

19

20

21
          Image from MB37930 at 0:29 – closeup of        Image from BB_00012963 at 0:41 – closeup
22        feet on scale.                                 of feet on scale.
23

24

25

26

27   10
      I am informed that BB_00000755 and BB_00001023 and their certified translations will be
     made available as Exhibits F and G, respectively, to the commensurately filed declaration of
28   Deborah Hedley.

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT        - 17 -                     CASE NO. 3:21-cv-06536-EMC
          Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 19 of 28



 1       Original Images in CoComelon Work “Doctor      Substantially Similar Images in Super JoJo
                  Checkup Song” (MB037930)               “Doctor Checkup Song” (BB_00012963)
 2

 3

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 6

 7     Image from MB037930 at 1:12 – JJ’s brother Image from BB_00012963 at 1:05 – JoJo’s
       uses an eye-cover to test his vision.      brother uses an eye-cover to test his vision.
 8

 9

10

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13     Image from MB37930 at 1:21.                    Image from BB_00012963 at 1:14.
14

15

16

17

18
       Image from MB037930 at 1:26 – JJ checks        Image from BB_00012963 at 2:02 – JoJo
19     inside his sister’s mouth.                     checks inside his sister’s mouth.
20

21

22

23

24
       Image from MB037930 at 2:22 – JJ displays      Image from BB_00012963 at 2:28 – JoJo
25     his results.                                   displays his results.

26

27

28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT     - 18 -                     CASE NO. 3:21-cv-06536-EMC
               Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 20 of 28



 1        Original Images in CoComelon Work “Doctor        Substantially Similar Images in Super JoJo
                   Checkup Song” (MB037930)                 “Doctor Checkup Song” (BB_00012963)
 2

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 7      Image from MB037930 at 2:29 – kids laugh        Image from BB_00012963 at 2:34 – kids
        as camera pulls away.                           laugh as camera pulls away.
 8

 9   Also attached hereto as Exhibit K is a true and correct copy of a gif that I created showing the

10   use in both videos of an unusual automatic height measuring device that appears copied from the

11   CoComelon video.
               23.   Sick Song. I understand that Defendants have moved for summary judgment on
12
     their Infringing Video “Sick Song,” which I understand is listed in Dkt. 180-3 as Defendants’
13
     Exhibit T-2 (BB_00012957). My analysis indicates that this video uses about 99 of the 121
14
     elements of expression similarly to the CoComelon Works, through use of the JoJo and family
15
     characters, whose selection and combination of physical and conceptual characteristics are
16
     copied from CoComelon (about 48 overlapping expressive elements), and through use of a
17
     selection and combination of look and feel, cinematography and song-related elements taken
18
     from CoComelon (about 51 overlapping expressive elements). Dkt. 164-1, Appx. 4 Part 2 at 4
19
     (PDF page 249). For example, I note that although Super JoJo’s “Sick Song” video (Dkt. 165,
20
     Ex. 158 – BB_00012957) does not use the same song as CoComelon’s Sick Song video (Dkt.
21
     165, Ex. 036 – MB037900), it intersperses CoComelon’s “not feeling well” lyric, despite that
22
     this lyric makes no grammatical or rhyming sense when divorced from CoComelon’s rhyming
23
     lyrics.
24
               24.   Setting. I understand that Defendants have not moved for summary judgment on
25
     many of their Infringing Videos that exhibit frame by frame copying of CoComelon Works,
26
     including Super JoJo’s versions of CoComelon’s Yes Yes Vegetables Song, Bath Song, Rainbow
27
     Ice Cream – Colors Song, and Boo Boo Song, among others. See Dkt. 180-3 (noting that
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT       - 19 -                      CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 21 of 28



 1   summary judgment is not sought on certain Infringing Works, including videos at Bates Nos.

 2   BB_00012974 (Yes Yes Vegetables), BB_00012948 (Bath Song), BB_00013057 (Rainbow Ice

 3   Cream – Colors Song), and BB_00012972 (Boo Boo Song), among others). As I described in

 4   my Opening Report, one consequence of Defendants’ decision to meticulously copy the

 5   compositions and arrangements of characters in these and other CoComelon Works was that the

 6   overall layout of the home setting designs of the CoComelon environment were copied too,

 7   making the layout of the two houses similar. See Dkt. 164-1 ¶¶ 238, 248. That the similarity is

 8   deliberate can be inferred from documents such as BB_00029732 (Dkt. 165, Ex. 547 –

 9   BB_00029732), which is a copy of CoComelon’s registered “The Boo Boo Song” video (Dkt.

10   165 Ex. 069 – MB037934), but with an inset added in the upper-left corner that shows drawings

11   of a bird’s-eye view of the set from JoJo’s house and drawings that detail where the characters

12   and camera should be placed in order for Defendants to copy the CoComelon composition,

13   including its arrangement of sets and cinematography. The substantial similarity is also apparent

14   comparing the settings in the videos. The CoComelon and Super JoJo environments share an

15   overall look and feel, with bright colors, rounded edges, soft lighting, and similar floorplan

16   layouts. See Dkt. 164-1 ¶¶ 238, 248. There are many specific similarities with the CoComelon

17   and Super JoJo home décor as well. Among other things, both homes have bathrooms with blue

18   tile and nautical designs with white-rimmed clawfoot tub with cool exterior colors, and both

19   babies’ bedrooms have white cribs, blue patterned sheets, oversized stuffed animals, cool colored

20   walls with cloud designs, a wind-up mobile, and a whale motif as a wall decoration. See id.

21   Both backyards have a white picket fence, a large tree on one side, a raised patio area, a striped

22   umbrella and pool. See id. Once these models were made to copy CoComelon scenes, they were

23   subsequently reused throughout the Infringing Videos. See, e.g., Dkt. 165 ¶ 56, Ex. 557 (Zhang)

24   77:8-78:21 (admitting reuse of resources made for prior episodes). I provide a few examples of

25

26

27

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     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT        - 20 -                      CASE NO. 3:21-cv-06536-EMC
            Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 22 of 28



 1   the substantial similarity in the setting of the Super JoJo Infringing Works below, and in more

 2   detail in a chart, a true and correct copy of which is attached as Exhibit H.11

 3        Original Images in CoComelon Works                 Substantially Similar Material in
                                                                    Infringing Works
 4

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14
      CoComelon Bathroom, MB37914 at 0:40,               Super JoJo Bathroom. BB_00047321 at
15    1:05                                               0:08, 2:37

16

17

18

19

20
      CoComelon Kitchen. MB037896 at 0:01                Super JoJo Kitchen, BB_00012974 at 0:02
21

22

23

24   11
       CoComelon Works cited: Dkt. No. 165, Ex. 042 - MB037914 (This is the Way), Ex. 009 -
     MB037892 (Bath Song), Ex. 045 - MB037924 (Yes Yes Vegetables Song), Ex. 069 - MB037934
25   (The Boo Boo Song), Ex. 006 - MB037890 (Colors Song – With Popsicles), Ex. 033 -
     MB037898 (Swimming Song), Ex. 024 - MB037908 (Peek a Boo). Infringing Works cited: Dkt.
26   No. 165, Ex. 177 - BB_00047321 (This Is the Way We Brush Our Teeth), Ex. 162 -
     BB_00012948 (Bath Song), Ex. 150 - BB_00012974 (Yes Yes Vegetables Song), Ex. 149 -
27   BB_00012972 (The Boo Boo Song), Ex. 155 - BB_00013057 (Rainbow Ice Cream – Colors
     Song), Ex. 159 - BB_00012966 (Swimming Song).
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT        - 21 -                      CASE NO. 3:21-cv-06536-EMC
          Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 23 of 28



 1     Original Images in CoComelon Works               Substantially Similar Material in
                                                               Infringing Works
 2

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 8    CoComelon Kitchen. MB037924 at 1:38           Super JoJo Kitchen, BB_00013110 at 1:31

 9

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14    CoComelon Yard and Fence. MB037934 at         Super JoJo Yard and Fence. BB_0001293 at
      1:50.                                         1:12
15

16

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18

19

20
      CoComelon Yard. MB037890 at 3:09.             Super JoJo Yard. BB_00013057 at 2:03.
21

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26

27    CoComelon Living Room. MB037908 at            Super JoJo Living Room. BB_00012972 at
      1:31                                          1:33
28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT   - 22 -                      CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 24 of 28



 1          25.     Cinematography and Pacing. As I described in my Opening Report,

 2   CoComelon’s distinctive cinematography style and pacing uses slow scene and camera

 3   transitions and visuals that are close to the world of a child, preferentially composing frames at

 4   the eye level of the main character and focused on him. This style, which in my experience, is

 5   distinctive for a preschool animation show, includes a specific gentle pacing of edits (shots

 6   generally of short or medium length), composition (heavily featuring low subjective angles, and

 7   very rarely going above eye-level), distance of shots (mostly close-ups, some medium shots, and

 8   very rarely long shots), predominant use of wide-angle camera lenses, soft indirect lighting and

 9   frequent use of camera movement, incorporating camera movement in most shots. Dkt. 164-1 ¶¶

10   184-185. Exhibit A attached here provides examples of registered CoComelon videos wherein

11   the expressive elements of this style can be observed. A good example is CoComelon’s

12   registered “This is the Way” video (Dkt. 165, Ex. 042 – MB037914), which shows typical

13   CoComelon camera work. The distinctive CoComelon use of slow camera movement occurring

14   in most shots, slow and even editing of scenes, and slow transitions between sequences and

15   settings can also be seen in CoComelon’s “Getting Ready for School” (Dkt. 165, Ex. 045 -

16   MB037924) and “Yes Yes Bedtime Song” (Dkt. 165, Ex. 057 - MB037916) videos.

17          26.     Defendants’ planning documents as described above indicate that Defendants

18   deliberately set out to copy CoComelon’s distinctive cinematography and scene transition

19   pacing. For example, the analytical video BB_00029732 (Dkt. 165, Ex. 547 - BB_00029732), in

20   which Defendants added an inset on top of CoComelon’s “The Boo Boo Song” video (Dkt. 165

21   Ex. 69 - MB037934), with bird’s-eye view drawings of the set from JoJo’s house and drawings

22   that detail where the characters and camera should be placed in order for Defendants to copy the

23   CoComelon composition, indicates to me that Super JoJo intended to copy CoComelon’s

24   cinematography. Making an analytical video like this is unusual because it is not strictly

25   necessary if one is just copying the shots from the video. One would be more likely to see such a

26   video in a film studies class, where it would be used to analyze the cinematographic style, to

27   explain how to dissect, understand, and reproduce the look and feel of the video. Another

28   example that indicates to me that Super JoJo meant to copy CoComelon’s cinematography and

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT        - 23 -                      CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 25 of 28



 1   pacing is the Super JoJo Specifications document (Dkt, 165, Ex. 524 at 18) that states that the

 2   “focus of visuals” for Super JoJo should include “Slow scene transition. Slow camera transition”

 3

 4

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     and “visuals close to the children’s world.” Both of these relate to the distinctive CoComelon
11
     style of edit pacing, composition, shot distance, lens usage and use of camera movement that I
12
     describe above, and that I have listed among the CoComelon expressive elements copied by the
13
     Infringing Videos in my analysis. See, e.g., Dkt. No. 164-1, App’x 4 Part 1 (elements 75, 94,
14
     103-114); id. ¶¶ 239, 238.
15
     Dkt. 165, Ex. 524 at 18.
16
            27.     In my review of Super JoJo videos, the Super JoJo videos use “Slow scene
17
     transition. Slow camera transition” and “visuals close to the children’s world” as copied from
18
     CoComelon. Here are a few examples:
19
            a.      In “London Bridge Is Falling Down” (Dkt. 165, Ex. 174 - BB_00047316) there
20
            are about 30 shots in the about 2:20 running time for this video, so the average shot is
21
            about four and a half seconds long. This gives the whole piece a slow pace in its editing
22
            and the effect of “slow scene transitions.” The video also uses slow and gentle camera
23
            movement extensively during many of the shots. Note the slow camera transitions in the
24
            first shot, which is over ten seconds long, with the camera transitioning slowly between
25
            three different framings – a closeup framing of the mother, a medium framing of the
26
            mother, and a medium framing of JoJo.
27

28

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT       - 24 -                      CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 26 of 28



 1          b.      Similarly, the “Laughing Song” (Dkt. 165, Ex. 234 - BB_00047384) has about 29

 2          shots in the about 2:20 running time for the video, giving an average shot of almost five

 3          seconds long. It also has an effect of “slow scene transitions” and gentle camera

 4          movement during many of its shots. For instance, in the second shot, the camera

 5          transitions from a closeup framing of the brother’s face, trucking back to include the

 6          sister and baby in the same shot. In the third shot, the camera very slowly moves forward

 7          to follow the brother as he moves towards the sister and baby.

 8          c.      Likewise, in “Five Monkeys” (Dkt. 165, Ex. 256 - BB_00047410) there are about

 9          24 shots in the about 2:18 running time of the video, so the average shot is almost six

10          seconds, giving the effect of “slow scene transitions.” Slow camera transitions include the

11          shot at 1:05, which starts with the closeup framing of the toy monkey on the ground, then

12          slowly moves to a framing of the door, and slowly moves to a closeup of the mother in

13          the doorway. Another is the shot in 1:14, where the camera slowly follows the kids as

14          they walk down the stairs, then gently transitions to a closeup framing of the sister after

15          she falls on the stairs.

16          28.     As mentioned above, about 14 elements of CoComelon expression used in my

17   substantial similarity analysis relate to CoComelon’s distinctive cinematography and pacing.

18   Dkt. 164-1, App’x 4 Part 1 (elements 75, 94, 103-114). Exhibit A to this declaration provides

19   citations to CoComelon Works that illustrate these expressive elements. Appendix 4 to my

20   Opening Report tabulates the presence of these elements in most of the Infringing Works.

21          29.     All of these facts, together with others described in my Opening Report, support

22   my opinion that all the Infringing Works are substantially similar to the CoComelon Works.

23          30.     Additional Examples of Copying of CoComelon Style. As shown above, the

24   Super JoJo Specifications state that the focus of Super JoJo visuals should include “surprise

25   visuals and plots for children.” Dkt. 165, Ex. 524 at 18. Examples of this abound in CoComelon

26   Works, such as the mother’s use of stuffed animals to demonstrate new activities and encourage

27   the baby to try them, (see, e.g., Dkt. 165, Ex. 015 - MB037904, Ex. 003 - MB037886), or the use

28   of a special handmade tree for the children to decorate, (see, e.g., Dkt. 165, Ex. 096 -

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT        - 25 -                       CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 27 of 28



 1   MB037954)), or the use of puppets and simple costumes to retell a classic story. See, e.g., Dkt.

 2   165 Ex. 105 - MB037942. In my review of Super JoJo videos, I have noted multiple examples

 3   of Super JoJo’s use of such “surprise visuals and plots for children” as well. The Super JoJo

 4   mother also uses stuffed animals to demonstrate new activities and encourage the baby to try

 5   them. See, e.g., Dkt. 165, Ex. 188 - BB_00047333 (“This is the Way We Get Dressed,” on

 6   which I understand Defendants seek summary judgment, see Dkt. 180-3, Ex. T-25). Defendants’

 7   “Doctor Checkup Song” (Dkt. 165 Ex. 152 - BB_00012963) uses plot surprises like a non-

 8   human doctor’s assistant, and visual surprises like JoJo’s doctor dress up costume and an

 9   automated height-measuring device, all substantially similar to elements of CoComelon’s Doctor

10   Checkup Song (Dkt. 165 Ex. 60 - MB037930).

11          31.     The Super JoJo Specifications state that the focus of Super JoJo visuals should

12   include “visual details that can draw children’s attention (expressions and gestures), e.g.

13   expression, gesture, and mood of the main character.” Dkt. No. 165, ¶¶14-17, Ex. 524.

14   CoComelon’s “Getting Ready for School Song” (Dkt. 165, Ex. 045 - MB037924) is a good

15   example of how CoComelon does this, as JJ’s expressive gestures in this video help establish his

16   character with dancing, enthusiasm, and his willingness to always try again. Likewise, as

17   described above, the Infringing Works also are also strongly focused on the expression, gesture

18   and mood of the main character in similar ways.

19          32.     Open Shut Them. Another example of an Infringing Video that copies

20   CoComelon gestures and themes is “Open Shut Them | Opposites Song.” I understand that

21   Defendants have moved for summary judgment on this video, which I understand is listed in

22   Dkt. 180-3 as Defendants’ Exhibit T-6 (BB_00013055). My analysis indicates that this video

23   uses over 100 of the 121 elements of expression similarly to the CoComelon Works, through use

24   of the JoJo and family characters, whose selection and combination of physical and conceptual

25   characteristics are copied from CoComelon (about 52 overlapping expressive elements), and

26   through use of a selection and combination of look and feel, cinematography and song-related

27   elements taken from CoComelon (about 55 overlapping expressive elements). Dkt. 164-1, Appx.

28   4 Part 2 at 3 (PDF page 248). This Infringing Video (Dkt. 165, Ex. 157 - BB_00013055) copies

     KRAUSE DECL ISO PLTFS’ OPP TO DEFS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT        - 26 -                      CASE NO. 3:21-cv-06536-EMC
           Case 3:21-cv-06536-EMC Document 206-4 Filed 01/10/23 Page 28 of 28



 1   the registered CoComelon “Opposites Song” video (Dkt. 165, Ex. 12 - MB037888) in its plot

 2   and theme of the family banding together to play a game to demonstrate and teach the baby

 3   about opposites, copies its lyrics (compare MB037888 at 0:14 (“Let’s all play the opposite

 4   game”) and BB_00013055 at 0:03 (“Let’s play a game”)), copying the choice of many of the

 5   pairs of opposites (using stuffed animals to demonstrate big and small, using ice cream cones for

 6   hot and cold, covering fast and slow), and copying the reuse of a recurring gesture of closing and

 7   opening the arms to illustrate the opposites (for example, compare MB037888 at 0:45 and

 8   BB_00013055 at 1:18, both using outstretched upwards reaching arms to illustrate big).

 9          33.     In my opinion, the way the Infringing Works focus their visuals on “surprise

10   visuals and plots for children” and “visual details that can draw children’s attention (expressions

11   and gestures), e.g. expression, gesture, and mood of the main character” in a substantially similar

12   way as CoComelon, also supports my opinion that the Infringing Works are substantially similar

13   to the CoComelon Works.

14          I declare under penalty of perjury under the laws of the United States of America that the

15   foregoing is true and correct. Executed on January 3rd, 2023.

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21                                                       Fran Krause

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     MOTION FOR PARTIAL SUMMARY JUDGMENT        - 27 -                      CASE NO. 3:21-cv-06536-EMC
